        Case 9:15-cr-00013-DLC Document 72 Filed 09/21/15 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                             CR 15–13–M–DLC–2

                      Plaintiff,
                                                              ORDER
        vs.

 JOSEPH ALLEN EHLI,

                      Defendant.


      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on September 3, 2015. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Joseph Allen Ehli’s guilty plea

after Ehli appeared before him pursuant to Federal Rule of Criminal Procedure 11,

                                           1
        Case 9:15-cr-00013-DLC Document 72 Filed 09/21/15 Page 2 of 2



and entered a plea of guilty to one count of conspiring to distribute

methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and 846 (Count I), as set

forth in the Indictment. In exchange for Defendant’s plea, the United States has

agreed to dismiss Counts II and IV of the Indictment as pled against Ehli.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

65), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Joseph Allen Ehli’s motion to change

plea (Doc. 48) is GRANTED and Joseph Allen Ehli is adjudged guilty of Count I

as charged in the Indictment.

      DATED this 21st day of September, 2015.




                                          2
